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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                              GALVESTON DIVISION

 BRIANNE DRESSEN, et al.,

               Plaintiffs,

        v.
                                                  Civil Action No. 3:23-cv-155
 ROB FLAHERTY, et al.,

               Defendants.




               MOTION FOR CASEY B. NORMAN TO APPEAR AS
                        ATTORNEY-IN-CHARGE

       Pursuant to L.R. 11, Plaintiffs Brianne Dressen, Shaun Barcavage, Kristi Dobbs,

Nikki Holland, Suzanna Newell, and Ernest Ramirez (“Plaintiffs”), by and through

undersigned counsel, file this Motion to designate Katherine (“Casey”) B. Norman as

attorney-in-charge of this action. In support of this Motion, Plaintiffs state as follows:

       1.     Casey B. Norman is an attorney with the non-partisan, non-profit New

Civil Liberties Alliance (“NCLA”) whom Plaintiffs have engaged pro bono publico to

represent them in this action.

       2.     Ms. Norman is a member in good standing of the New York and Ohio bars.

She is also admitted to United States District Court for the Southern District of Texas, as

well as to the United States District Courts for the Northern District of Texas, the

Northern District of California, the Eastern, Northern, and Southern Districts of New

York, and the Bankruptcy Court for the Southern District of New York.


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       3.     Ms. Norman has never been sanctioned in any court of which she is a

member or where she practiced pro hac vice (or in any other court).

       4.     Ms. Norman has read and familiarized herself with the local rules of the

Southern District of Texas, as well as the local rules of this Galveston Division.

       5.     Ms. Norman will be joined by Margaret A. Little of NCLA who will seek

pro hac vice admission presently.

       6.     NCLA has obtained the services of local counsel S. Michael McColloch

and Karen L. Cook, who are admitted to this Court, to aid in compliance with its

practices.

       Wherefore Plaintiffs respectfully request that the Court admit Ms. Casey B.

Norman as attorney-in-charge for practice before this Court on their behalf in this matter.



                                                 Respectfully submitted,

                                                 /s/ Casey B. Norman
                                                 Casey B. Norman*
                                                 Litigation Counsel
                                                 New York Bar # 5772199
                                                 Casey.Norman@ncla.legal
                                                 Motion to Be Admitted as Attorney-in-
                                                 Charge Forthcoming

                                                 /s/ Margaret A. Little
                                                 Margaret A. Little
                                                 Senior Litigation Counsel
                                                 Connecticut Bar # 303494
                                                 Peggy.Little@ncla.legal
                                                 Pro Hac Vice Admission Forthcoming

                                                 NEW CIVIL LIBERTIES ALLIANCE
                                                 1225 19th Street NW, Suite 450
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                                     Washington, DC 20036
                                     Telephone: (202) 869-5210
                                     Facsimile: (202) 869-5238

                                     * Admitted only in New York and Ohio.
                                     DC practice limited to matters and
                                     proceedings before United States courts
                                     and agencies. Practicing under members
                                     of the District of Columbia Bar.

                                     /s/ S. Michael McColloch
                                     S. MICHAEL MCCOLLOCH, PLLC
                                     S. Michael McColloch
                                     Texas Bar # 13431950
                                     Telephone: (214) 643-6055
                                     smm@mccolloch-law.com
                                     KAREN COOK, PLLC
                                     Karen L. Cook
                                     Texas Bar # 04738920
                                     Telephone: (214) 643-6054
                                     karen@karencooklaw.com
                                     6060 N. Central Expressway, Suite 500
                                     Dallas, Texas 75206

                                     Attorneys for Plaintiffs




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